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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH CAROLINA
                                 ROCK HILL DIVISION

TABITHA MOSTELLER,                               )
                                                 )
       Plaintiff,                                )
                                                 )
       v.                                        )       No. 0:16-cv-00502-JFA
                                                 )
NATIONAL CREDIT ADJUSTERS, LLC,                  )
                                                 )
       Defendant.                                )

                                  NOTICE OF SETTLEMENT

       Plaintiff, TABITHA MOSTELLER, (“Plaintiff”), through her attorney, Chauntel D. Bland,

Esquire, informs this Honorable Court that the Parties have reached a settlement in this case.

Plaintiff anticipates dismissing this case, with prejudice, within 30 days.


DATED: May 10, 2016



                                      RESPECTFULLY SUBMITTED,



                                      By:_/s/_Chauntel D. Bland, Esquire
                                             Chauntel D. Bland, Esquire
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                                             Columbia, SC 29210
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                                             chauntel.bland@yahoo.com
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                                CERTIFICATE OF SERVICE

        On May 10, 2016, I electronically filed the Notice of Settlement with the Clerk of the U.S.
District Court, using the CM/ECF system. I e-mailed a copy of the filed Notice of Settlement to
Defense Counsel, Nick Moore, at NMoore@ncaks.com.
